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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §          Case No. 2:12-CR-3-13 JRG-RSP
                                                 §
 TRACY RENEE HAMPTON                             §

                         REPORT AND RECOMMENDATION OF
                       THE UNITED STATES MAGISTRATE JUDGE

        On February 8, 2017, the undersigned held a final hearing on the Government=s petition

 (#608) to revoke supervised release. The Government was represented by Assistant United

 States Attorney Allen Hurst. The Defendant, Tracy Renee Hampton, was represented by Scott

 Rectenwald.

        Tracy Renee Hampton was sentenced on February 26, 2013, before The Honorable

 Rodney Gilstrap of the Eastern District of Texas after pleading guilty to the offense of Possession

 of a List 1 Chemical with Intent to manufacture Methamphetamine, a Class C felony. This

 offense carried a statutory maximum imprisonment term of 20 years.                 The guideline

 imprisonment range, based on a total offense level of 25 and a criminal history category if VI,

 was 110 to 137 months. Tracy Renee Hamption was subsequently sentenced to 84 months

 imprisonment followed by a three year term of imprisonment subject to the standard conditions

 of release, plus special conditions to include drug aftercare, financial disclosure, and mental

 health treatment. On April 6, 2015, the term of imprisonment was reduced to 70 months

 pursuant to 18 U.S.C. 3582(c)(2). On March 16, 2016, Tracy Renee Hampton completed her

 period of imprisonment and began service of the supervision term.

        On October 11, 2016, Ms. Hampton’s conditions of supervised release were modified to
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 include the following: You shall reside in a residential reentry center or similar facility, in a

 community corrections component, for a period of 180 days to commence immediately. You

 shall abide by the rules and regulations of the center, and pay subsistence according to the U.S.

 Bureau of Prisons’ guidelines.

        On January 26, 2017, this petition to revoke was filed. In its petition, the Government

 alleges the Defendant violated the following conditions:

        1) Standard: The Defendant shall work regularly at a lawful occupation unless excused

 by the probation officer for schooling, training or other acceptable reasons. Specifically, the

 Government alleges as follows: Ms. Hampton quit her job at Suddenlink on December 5, 2016,

 and has not maintained employment since that date.

        2) Standard: The Defendant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use, distribute, or administer any narcotic or other controlled substance, or any

 paraphernalia related to such substances, except as prescribed by a physician. Specifically, the

 Government alleges as follows: On August 17, 2016, Ms. Hampton submitted a urine specimen

 which tested positive for methamphetamine.           Lab results confirmed the positive test.   On

 August 23, 2016, Ms. Hampton submitted a urine specimen which tested positive for

 methamphetamine. Lab results confirmed the positive test. On or about September 15, 2016,

 Ms. Hampton admitted to using methamphetamine. On September 19, 2016, Ms. Hampton

 submitted a urine specimen which tested positive for methamphetamine. Lab results confirmed

 the positive test. On October 14, 2016, Ms. Hampton admitted to using methamphetamine. On

 December 5, 2016, Ms. Hampton submitted a urine specimen which tested positive for

 methamphetamine. Lab results confirmed the positive test.


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           3) Standard: The Defendant shall not associate with any persons engaged in criminal

 activity and shall not associate with any person convicted of a felony, unless granted permission

 to do so by the probation officer. Specifically, the Government alleges the following: On

 September 19, 2016, Ms. Hampton admitted to associating with Travis Shelton, a convicted

 felon.

           4) Standard: The Defendant shall participate in a program of testing and treatment for

 drug abuse, under the guidance and direction of the U.S. Probation Office, until such time as the

 defendant is released from the program by the probation officer. Specifically, the Government

 alleges the following: On or about September 15, 2016, Ms. Hampton attempted to falsify drug

 test results.

           5) Special: You shall reside in a residential reentry center or similar facility, in a

 community corrections component, for a period of 180 days to commence immediately. You

 shall abide by the rules and regulations of the center, and pay subsistence according to the U.S.

 Bureau of Prisons’ guidelines.       Specifically, the Government alleges the following:     On

 December 19, 2016, Ms. Hampton was unsuccessfully discharged from the residential reentry

 center.

           The Court scheduled a revocation hearing for February 8, 2017. At the hearing on the

 Government=s petition, and after consenting to the undersigned taking the plea, the Defendant

 pled true to the allegation Nos. 1, 3, 4 and 5. Based on the Defendant=s plea of true to the

 allegations, and with no objection by the Defendant or the Government, the undersigned found

 that the Defendant did violate conditions of her supervised release, as alleged in the U.S.

 Probation Office=s petition.


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        The undersigned thereafter recommended that the Defendant be committed to the custody

 of the Bureau of Prisons to be imprisoned for 14 months, with no supervised release to follow

 such term of imprisonment. The Court recommends service of sentence at FMC Carswell, TX.

 Based on the foregoing, it is

        RECOMMENDED that the Defendant=s plea of true to the allegations, as set forth in the

 Government=s petition, be ACCEPTED.            Based upon the Defendant=s plea of true to the

 allegations, it is further recommended that the Court find that the Defendant violated the

 conditions of her supervised release. It is further

        RECOMMENDED that the Defendant=s supervised release be REVOKED.                     It is

 further RECOMMENDED that the Defendant be committed to the custody of the Bureau of

 Prisons to be imprisoned for a term of 14 months, with no supervised release to follow such term
  .
 of imprisonment. The Court recommends service of sentence at FMC Carswell, TX.

        At the close of the February 8, 2017 revocation hearing, Defendant, defense counsel, and

 counsel for the Government each signed a standard form waiving their right to object to the

 proposed findings and recommendations contained in this report, consenting to revocation of

 supervised release as recommended herein and to the imposition of the above sentence.

 Defendant also waived his right to be present and speak before the District Judge imposes the

 recommended sentence. Therefore, the Court may act on the findings and recommendation

 immediately.
         SIGNED this 3rd day of January, 2012.
          SIGNED this 5th day of June, 2017.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                  4    UNITED STATES MAGISTRATE JUDGE
